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9
                     UNITED STATES DISTRICT COURT
10              FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12   VINCENT LANGLEY AND ROBIN )               Case No.
13   LANGLEY,                         )
                                      )        COMPLAINT FOR VIOLATION
14
     Plaintiffs,                      )        OF FEDERAL FAIR DEBT
15                                    )        COLLECTION PRACTICES ACT
            vs.                       )        AND ROSENTHAL FAIR DEBT
16
                                      )        COLLECTION PRACTICES ACT
17   ASR NATIONAL SERVICES INC., )
18
                                      )
     Defendant.                       )
19                                    )
20   ________________________________ )        ______________________________
21
                                I. INTRODUCTION
22
          1. This is an action for damages brought by two individual consumers for
23

24   Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.
25
     §1692, et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt Collection
26

27   Practices Act, Cal Civ Code §1788, et seq. (hereinafter “RFDCPA”), both of
28




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1    which prohibit debt collectors from engaging in abusive, deceptive, and unfair
2
     practices.
3

4                                  II. JURISDICTION
5
           2.     Jurisdiction of this Court arises under 15 U.S.C. §1692k(d).
6

7                                    III. PARTIES
8
           3.     Plaintiffs, Vincent Langley and Robin Langley (“Plaintiffs”
9
     collectively herein, and “Plaintiff Vincent” or “Plaintiff Robin” individually
10

11   herein), are natural persons residing in Sacramento county in the state of
12
     California, and are “consumers” as defined by the FDCPA, 15 U.S.C. §1692a(3)
13

14   and are “debtors” as defined by Cal Civ Code §1788.2(h).
15
           4.     At all relevant times herein, Defendant, ARS National Services Inc.
16

17
     (“Defendant”) was a company engaged, by use of the mails and telephone, in the

18   business of collecting a debt from Plaintiffs which qualifies as a “debt,” as
19
     defined by 15 U.S.C. §1692a(5), and a “consumer debt,” as defined by Cal Civ
20

21   Code §1788.2(f). Defendant regularly attempts to collect debts alleged to be due
22
     another, and therefore is a “debt collector” as defined by the FDCPA, 15 U.S.C.
23

24   §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c).
25
                            IV. FACTUAL ALLEGATIONS
26
           5.     At various and multiple times prior to the filing of the instant
27

28   complaint, including within the one year preceding the filing of this complaint,



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1    Defendant contacted Plaintiffs in an attempt to collect an alleged outstanding
2
     debt.
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4            6.      On or about August 5, 2010, Defendant called Plaintiffs’ home seven
5
     times in a row without leaving a message. When Plaintiffs’ son answered the
6

7    phone, the caller refused to identify themselves. Plaintiffs’ son took Defendant’s
8
     phone number and provided it to his mother.
9
             7.      On or about August 5, 2010, Plaintiff Robin called Defendant after
10

11   her son gave her the message from Defendant. In that phone call, Defendant
12
     refused to tell Plaintiff Robin any information regarding the reason for their call.
13

14   Defendant attempted to get personal information regarding Plaintiffs, but would
15
     not give Plaintiff Robin their address, fax number, or any information regarding
16

17
     their business.      When Plaintiff Robin asked Defendant if they were a debt

18   collector, she was hung up on.
19
             8.      On August 10, 2010, Plaintiffs’ counsel sent a letter to Defendant
20

21   requesting verification of the alleged debt. When Defendant failed to respond to
22
     that letter, Plaintiffs’ counsel sent a second letter on September 3, 2010.
23

24   Defendant has yet to provide verification of the alleged debt.
25
             9.      Defendant’s conduct violated the FDCPA and the RFDCPA in
26
     multiple ways, including but not limited to:
27

28                a) Failing to disclose the caller’s individual identity in a
                     telephone call to Plaintiff (§1692d(6));


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2
                 b) Failing to notify Plaintiff during the initial
3                   communication with Plaintiff that the communication
4                   was an attempt to collect a debt and any information
                    obtained would be used for that purpose (§1692e(11));
5

6                c) Failing to notify Plaintiff during each collection contact
7
                    that the communication was from a debt collector
                    (§1692e(11));
8

9                d) Placing (a) telephone call(s) to Plaintiff without
                    disclosure of the caller's true identity or a registered
10
                    alias name along with the name of the agency
11                  authorizing the call (Cal Civ Code §1788.11(b));
12
                 e) Causing a telephone to ring repeatedly or continuously
13                  to annoy Plaintiff (Cal Civ Code §1788.11(d)); and
14
                 f) Communicating, by telephone or in person, with
15                  Plaintiff with such frequency as to be unreasonable and
16                  to constitute an harassment to Plaintiff under the
                    circumstances (Cal Civ Code §1788.11(e)).
17

18          10.     As a result of the above violations of the FDCPA and RFDCPA
19
     Plaintiffs suffered and continue to suffer injury to Plaintiffs’ feelings, personal
20

21   humiliation, embarrassment, mental anguish and emotional distress, and
22
     Defendant is liable to Plaintiffs for Plaintiffs’ actual damages, statutory damages,
23
     and costs and attorney’s fees.
24

25                        COUNT I: VIOLATION OF FAIR DEBT
26                          COLLECTION PRACTICES ACT
27
           11.      Plaintiffs reincorporate by reference all of the preceding paragraphs.
28




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1
                                PRAYER FOR RELIEF
2
           WHEREFORE, Plaintiffs respectfully pray that judgment be entered
3

4    against the Defendant for the following:
5
                 A.     Declaratory judgment that Defendant’s conduct
6

7                violated the FDCPA;
8                B.     Actual damages;
9                C.     Statutory damages;
10               D.     Costs and reasonable attorney’s fees; and,
11               E.     For such other and further relief as may be just and proper.
12
                       COUNT II: VIOLATION OF ROSENTHAL
13                    FAIR DEBT COLLECTION PRACTICES ACT
14
           12.   Plaintiffs reincorporate by reference all of the preceding paragraphs.
15

16         13.   To the extent that Defendant’s actions, counted above, violated the
17
     RFDCPA, those actions were done knowingly and willfully
18
                                PRAYER FOR RELIEF
19

20         WHEREFORE, Plaintiffs respectfully pray that judgment be entered
21
     against the Defendant for the following:
22

23               A.     Declaratory judgment that Defendant’s conduct
24               violated the RFDCPA;
25               B.     Actual damages;
26               C.     Statutory damages for willful and negligent violations;
27               D.     Costs and reasonable attorney’s fees,
28               E.     For such other and further relief as may be just and proper.



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         PLAINTIFFS HEREBY REQUEST A TRIAL BY JURY
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           Respectfully submitted this 14th day of February, 2011.
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4                            By: s/ Todd M. Friedman______
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                                  Todd M. Friedman
                                  Law Offices of Todd M. Friedman, P.C.
6                                 Attorney for Plaintiffs
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                                  Complaint - 6
